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                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MISSOURI
                               SOUTHEASTERN DIVISION


                                                   Chapter 11

                                                   Case No. 16-10083-399
 In re:
                                                   (Jointly Administered)
 NORANDA ALUMINUM, INC., et al.,
                                                   Hearing Date & Time:
                              Debtors.             March 8, 2016 at 2:00 p.m.
                                                   (prevailing Central Time)

                                                   Hearing Location:
                                                   St. Louis Courtroom 5 North

                            NOTICE OF HEARING ON
                        APPLICATION FOR AUTHORITY TO
                     EMPLOY CARMODY MACDONALD P.C. AS
                 LOCAL RESTRUCTURING COUNSEL FOR THE DEBTORS

          PLEASE TAKE NOTICE that this application is scheduled for hearing on March 8, 2016

 at 2:00 p.m. (prevailing Central Time), before the Honorable Barry S. Schermer in Bankruptcy

 Courtroom 5 North, in the Thomas F. Eagleton U.S. Courthouse, 111 South Tenth Street, St.

 Louis, Missouri 63102.

          WARNING: Any response or objection to this application must be filed with this

 court by March 1, 2016. A copy shall be promptly served upon the undersigned. Failure to

 file a timely response may result in the Court granting the relief requested prior to the

 hearing date.



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 Dated: February 17, 2016
        St. Louis, Missouri
                                          Respectfully submitted,

                                          CARMODY MACDONALD P.C.

                                          /s/ Christopher J. Lawhorn
                                          Christopher J. Lawhorn, #45713MO
                                          Angela L. Drumm, #57678MO
                                          Colin M. Luoma, #65000MO
                                          120 S. Central Avenue, Suite 1800
                                          St. Louis, Missouri 63105
                                          Telephone: (314) 854-8600
                                          Facsimile: (314) 854-8660
                                          cjl@carmodymacdonald.com
                                          ald@carmodymacdonald.com
                                          cml@carmodymacdonald.com

                                          Proposed Local Counsel to the Debtors and
                                          Debtors in Possession

                                          -and-

                                          PAUL, WEISS, RIFKIND, WHARTON &
                                          GARRISON LLP
                                          Alan W. Kornberg
                                          Elizabeth McColm
                                          Alexander Woolverton
                                          Michael M. Turkel
                                          1285 Avenue of the Americas
                                          New York, New York 10019
                                          Telephone: (212) 373-3000
                                          Facsimile: (212) 757-3990
                                          akornberg@paulweiss.com
                                          emccolm@paulweiss.com
                                          awoolverton@paulweiss.com

                                          Proposed Counsel to the Debtors and
                                          Debtors in Possession
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                         UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MISSOURI
                              SOUTHEASTERN DIVISION


                                                     Chapter 11

                                                     Case No. 16-10083-399
 In re:
                                                     (Jointly Administered)
 NORANDA ALUMINUM, INC., et al.,
                                                     Hearing Date & Time:
                               Debtors.              March 8, 2016 at 2:00 p.m.
                                                     (prevailing Central Time)

                                                     Hearing Location:
                                                     St. Louis Courtroom 5 North


                     DEBTORS’ APPLICATION FOR AUTHORITY
                    TO EMPLOY CARMODY MACDONALD P.C. AS
                 LOCAL RESTRUCTURING COUNSEL FOR THE DEBTORS

          NOW COME Noranda Aluminum, Inc. and its affiliates that are debtors and debtors in

 possession in these jointly-administered cases (collectively, the “Debtors”) and apply to this

 Court for authority to employ the firm of Carmody MacDonald P.C. (“Carmody MacDonald”)

 as their local restructuring counsel. In support of this application (the “Application”), the

 Debtors show the Court as follows:

                                          Relief Requested

          1.    By this Application, the Debtors respectfully request the entry of an order,1

 pursuant to Section 327(a) of the Bankruptcy Code, authorizing the Debtors to retain Carmody

 MacDonald as their local restructuring counsel in these Chapter 11 cases, effective as of February

 8, 2016 (the “Petition Date”), as well as to provide advice and counsel regarding such other

          A copy of the proposed order will be made available on the Debtors’ case information
          1

 website at https://cases.primeclerk.com/noranda/.
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 matters as may be appropriate.

                                            Jurisdiction

        2.      This Court has jurisdiction over this Motion under 28 U.S.C. § 1334. Venue of

 this proceeding is proper pursuant to 28 U.S.C. § 1409. This is a core proceeding within the

 meaning of 28 U.S.C. § 157(b)(2).


                                            Background

        3.      The Debtors filed voluntary petitions for relief under Chapter 11 of the

 Bankruptcy Code on the Petition Date. The Debtors are listed on Schedule 1 attached hereto.

 The employer tax identification numbers and addresses for each of the Debtors are set forth in

 each such Debtors’ chapter 11 petitions.

        4.      The Debtors have continued in possession of their property and have continued to

 operate and manage their businesses as debtors-in-possession pursuant to sections 1107(a) and

 1108 of the Bankruptcy Code. No request has been made for the appointment of a trustee or

 examiner, and no official committee has been appointed in these cases.

        5.      Additional information about the Debtors’ businesses and the events leading up to

 the Petition Date can be found in the Declaration of Dale W. Boyles in Support of Chapter 11

 Petitions and First Day Motions, filed on the Petition Date (Docket No. 5), which is incorporated

 herein by reference.

                                       Basis for Relief

        6.      The Debtors have selected Carmody MacDonald as their local restructuring

 counsel because the firm is qualified to provide the services necessary to prosecute these Chapter

 11 cases, as well as to advise the Debtors in such other matters as may be appropriate. Carmody



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 MacDonald has experience and knowledge in Chapter 11 restructurings, as well as bankruptcy

 litigation, corporate governance, financing transactions, and other complementary areas of law.

        7.     The Debtors believe that the employment of Carmody MacDonald is necessary

 and in the best interests of the Debtors’ estates. The Debtors must be represented in this case by

 Missouri counsel who have not only restructuring experience, but also expertise in various other

 specialties. The legal services to be provided by Carmody MacDonald include the following:

               (a)      advising the Debtors with respect to their rights and obligations as debtors-

        in-possession and regarding other matters of bankruptcy law;

               (b)      assisting in the preparation and filing of any petitions, motions,

        applications, schedules, statements of financial affairs, plans of reorganization, disclosure

        statements, and other pleadings and documents that may be required in this case;

               (c)      representing the Debtors at hearings, including with respect to plans of

        reorganization, disclosure statements, confirmation and related hearings, and any

        adjourned hearings thereof;

               (d)      representing the Debtors in adversary proceedings and other contested

        matters;

               (e)      representing the Debtors in connection with debtor-in-possession financing

        arrangements; and

               (f)      counseling the Debtors on other matters that may arise in connection with

        the Debtors’ reorganization proceedings and their business operations.

        8.     The Debtors have retained Paul, Weiss, Rifkind, Wharton & Garrison LLP (“Paul

 Weiss”) as their lead restructuring counsel. Carmody MacDonald will work closely with the

 Debtors, Paul Weiss, and the Debtors’ other retained professionals to clearly delineate each


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 professional’s respective duties and to prevent unnecessary duplication of services whenever

 possible. Either Paul Weiss or another firm will represent the Debtors in connection with any

 matter in which Carmody MacDonald cannot represent the Debtors because of an actual or

 potential conflict of interest.

         9.      To the best of the Debtors’ knowledge, based on the accompanying Declaration of

 Christopher J. Lawhorn In Support of the Debtors’ Application for Authority to Employ

 Carmody MacDonald P.C. as a Local Counsel Restructuring Counsel for the Debtors Nunc Pro

 Tunc to the Petition Date (the “Lawhorn Declaration”), which is attached hereto as Exhibit A,

 Carmody MacDonald does not hold or represent any interest adverse to the Debtors’ estates;

 Carmody MacDonald is a “disinterested person” as that phrase is defined in Section 101(14) of

 the Bankruptcy Code, as modified by Section 1107(b) of the Bankruptcy Code; and Carmody

 MacDonald’s employment is necessary and in the best interests of the Debtors’ estates.

         10.     To the best of the Debtors’ knowledge, Carmody MacDonald does not have any

 connection with the Debtors, their creditors, other parties in interest, their respective attorneys

 and accountants, the United States Trustee, or any person employed in the office of the United

 States Trustee, other than as set forth in the Lawhorn Declaration. As disclosed in the Lawhorn

 Declaration, Carmody MacDonald represents or has represented certain of the Debtors’

 administrative agents, lenders, banks, customers, and other parties in interest in matters unrelated

 to these Chapter 11 cases. Carmody MacDonald has informed the Debtors of its ongoing

 representation of these entities, and the Debtors have consented to Carmody MacDonald’s

 continued representation of these entities in matters unrelated to this case. The Debtors submit

 that the information disclosed in the Lawhorn Declaration does not preclude Carmody

 MacDonald from representing the Debtors under applicable law and ethics rules.



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        11.     Carmody MacDonald does not and will not represent in this case any other entity

 that has an interest adverse to the Debtors’ estates.

        12.     Carmody MacDonald has indicated its willingness to serve as local restructuring

 counsel to the Debtors and to receive compensation and reimbursement in accordance with its

 billing procedures for services rendered and expenses incurred on behalf of the Debtors, in

 accordance with the provisions of sections 327, 330, and 331 of the Bankruptcy Code, or as

 otherwise ordered by the Court.

        13.     Carmody MacDonald’s requested compensation for professional services

 rendered to the Debtors will be based on the hours actually expended by each assigned

 professional at that professional’s hourly billing rate for this matter, as well as reimbursement for

 reasonable and necessary expenses that Carmody MacDonald customarily bills to its clients.

        14.     The range of hourly billing rates of Carmody MacDonald partners for this matter

 will be $295 to $385 per hour, associates $240 to $265 per hour, and paralegals/law clerks $145

 to $195 per hour. Carmody MacDonald’s hourly billing rates are subject to periodic adjustments

 to reflect annual increases and economic and other conditions. Prior to any increases in the rates

 set forth herein, Carmody MacDonald will give ten business days’ notice to the Debtors, the U.S.

 Trustee, any committee appointed in these Chapter 11 cases, and as otherwise ordered by the

 Court, which adjustments will be filed with the Court.

        15.     Carmody MacDonald’s hourly fees are comparable to, or less than, those charged

 by attorneys of similar experience and expertise for engagements of similar scope and complexity

 to these Chapter 11 cases. The Debtors have agreed to compensate Carmody MacDonald for

 professional services at its normal and customary hourly rates for bankruptcy matters.

        16.     Further details regarding professional fees and expenses are set forth in the



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 Lawhorn Declaration.

        17.     This Application is further supported by the Declaration of Gail E. Lehman

 attached hereto as Exhibit B.

        18.     Included in this filing is Carmody MacDonald’s Disclosure of Compensation of

 Attorneys for the Debtors pursuant to section 329(a) of Title 11 of the United States Code, Rule

 2016(b) of the Federal Rules of Bankruptcy Procedure, and Rules 1002(C)(10) and 2016-1(A) of

 the Local Rules of Bankruptcy Procedure of the United States Bankruptcy Court for the Eastern

 District of Missouri.

                                              Notice

        19.     Notice of this Application will be provided in accordance with the Court’s Case

 Management Order entered on February 12, 2016 [Dkt. 123]. In light of the nature of the relief

 requested herein, the Debtors submit that no other or further notice is necessary.

        WHEREFORE, the Debtors respectfully request that this Court:

        (a)     enter an order authorizing the Debtors to employ Carmody MacDonald as their

                attorneys for the purposes described above, effective as of the Petition Date; and

        (b)     grant the Debtors such other and further relief as is just and proper.


 Dated: February 17, 2016
        St. Louis, Missouri

                                                Respectfully submitted,

                                                Noranda Aluminum, Inc.

                                                /s/ Dale W. Boyles
                                                Dale W. Boyles
                                                Chief Financial Officer,
                                                Noranda Aluminum, Inc.




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                                CERTIFICATE OF SERVICE

        Consistent with the Case Management Order, the Debtors will serve notice of this Motion
on all of the Interested Parties as well as all parties who have requested notice. All parties who
have requested electronic notice of filings in these cases though the Court’s ECF system will
automatically receive notice of this Motion through the ECF system. All other parties will be
served this Motion via electronic mail or First Class U.S. Mail. A copy of this Motion and order
approving it will also be made available on the Debtors’ Case Information Website (located at
https://cases.primeclerk.com/noranda).


                                              /s/ Christopher J. Lawhorn
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                                    Schedule 1

                                  List of Debtors




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                                           Debtors

   1. Noranda Aluminum, Inc.

   2. Noranda Aluminum Holding Corporation

   3. Noranda Aluminum Acquisition Corporation

   4. Noranda Intermediate Holding Corporation

   5. Gramercy Alumina Holdings Inc.

   6. Gramercy Alumina Holdings II, Inc.

   7. Norandal USA, Inc.

   8. Noranda Alumina LLC

   9. NHB Capital, LLC

   10. Noranda Bauxite Holdings Ltd.

   11. Noranda Bauxite Ltd.




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                                       Exhibit A

                          Declaration of Christopher J. Lawhorn




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                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MISSOURI
                               SOUTHEASTERN DIVISION


 In re:                                               Chapter 11

 NORANDA ALUMINUM, INC., et al.,                      Case No. 16-10083-399

                                Debtors.              (Jointly Administered)



               DECLARATION OF CHRISTOPHER J. LAWHORN
        IN SUPPORT OF THE DEBTORS’ APPLICATION FOR AUTHORITY
     TO EMPLOY CARMODY MACDONALD P.C. AS LOCAL RESTRUCTURING
     COUNSEL FOR THE DEBTORS NUNC PRO TUNC TO THE PETITION DATE

           I, Christopher J. Lawhorn, hereby state and declare as follows:

          1.     I am an attorney at law admitted to practice law in the State of Missouri and am a

 partner of the law firm of Carmody MacDonald P.C. (“Carmody MacDonald”), which is

 located at 120 S. Central Ave., Suite 1800, St. Louis, Missouri 63105. I am familiar with the

 matters set forth herein and make this Declaration pursuant to Section 329(a) of the Bankruptcy

 Code and Federal Rules of Bankruptcy Procedure 2014(a) and 2016(b) in support of the

 Application for Authority to Carmody MacDonald P.C. as Local Restructuring Counsel for the

 Debtors (the “Application”).

          2.     Carmody MacDonald was engaged by Noranda Aluminum, Inc. and its affiliates

 that are debtors in these cases (the “Debtors”) as their local restructuring counsel on or about

 January 20, 2016. In that capacity, Carmody MacDonald has advised the Debtors regarding their

 restructuring and has assisted the Debtors in their preparations for the commencement of these

 Chapter 11 cases.

          3.     A true and correct copy of Carmody MacDonald’s engagement letter with the
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 Debtors is attached hereto as Attachment 1. To the extent the Application or the engagement

 letter is inconsistent with the terms of an Order of this Court that may be entered approving the

 Application, the terms of such Order shall govern. Notwithstanding the provisions of the

 engagement letter relating to the termination of the Debtors’ engagement of Carmody

 MacDonald, I understand and acknowledge that leave of this Court is required before Carmody

 MacDonald may withdraw as counsel to the Debtors.

        4.      The Debtors have agreed to engage Carmody MacDonald under a general retainer

 arrangement.

        5.      Hourly rates for Carmody MacDonald’s partners for this matter will be $295 to

 $385 per hour, associates $240 to $265 per hour, and legal assistants/law clerks $145 to $195 per

 hour. In setting its rates for a given matter, Carmody MacDonald considers the complexity, size,

 and demands of the matter. The discussions of Carmody MacDonald’s rates and billing practices

 set forth herein are based on rates charged by Carmody MacDonald in bankruptcy and non-

 bankruptcy matters of similar complexity, size or demand. Carmody MacDonald’s hourly fees

 for bankruptcy matters such as these are comparable to, or less than, those charged by attorneys

 of similar experience and expertise for engagements of similar scope and complexity of these

 Chapter 11 cases.

        6.      Carmody MacDonald’s hourly billing rates are subject to periodic adjustments to

 reflect annual increases and economic and other conditions. Prior to any increases in the rates

 set forth herein, Carmody MacDonald will give ten business days’ notice to the Debtors, the U.S.

 Trustee, any committee appointed in these Chapter 11 cases, and as otherwise ordered by the

 Court, which adjustments will be filed with the Court.

        7.      Carmody MacDonald’s hourly billing rates for professionals are not intended to
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 cover out-of-pocket expenses and certain elements of overhead that are typically billed

 separately. Accordingly, Carmody MacDonald regularly charges for expenses and disbursements

 incurred in direct connection with clients’ cases, including telecommunications, certain postage

 and packaged delivery charges, court fees, transcript costs, travel expenses, computer-aided

 research, and other third party disbursements. Carmody MacDonald expects to charge for these

 expenses in a manner and at rates consistent with charges made generally to other clients or as

 allowed by this Court.

        8.      The law firm of Paul, Weiss, Rifkind, Wharton & Garrison LLP (“Paul Weiss”) is

 serving as lead counsel for the Debtors in these Chapter 11 cases. Carmody MacDonald, as local

 counsel for the Debtors, will work closely with Paul Weiss to ensure that there is no unnecessary

 duplication of services performed for or charged to the estates.

        9.      Carmody MacDonald received $100,000 in retainer payments from the Debtors

 prior to the commencement of these Chapter 11 cases on February 8, 2016 (the “Petition Date”),

 as follows: $50,000 on or about January 26, 2016; and $50,000 on or about February 3, 2016

 (collectively, the “Retainer”). Any attorneys’ fees and expenses incurred after receipt of the

 executed engagement letter but prior to receipt of the Retainer were waived by Carmody

 MacDonald in connection with its retention as local restructuring counsel. All fees and expenses

 for which Carmody MacDonald has been paid were incurred after receipt of the Retainer. After

 receipt of the Retainer but prior to the Petition Date, Carmody MacDonald applied the Retainer

 against invoices for attorneys’ fees and expenses incurred for services rendered or to be rendered

 in contemplation of or in connection with these Chapter 11 cases. Carmody MacDonald will

 hold the remaining balance of the Retainer, i.e., $8,894.00, as security for the fees and expenses

 that may be awarded to it in these Chapter 11 cases.
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        10.     As of the Petition Date, Carmody MacDonald was not owed any amount by the

 Debtors for attorneys’ fees and expenses. Accordingly, Carmody MacDonald is not a creditor of

 the Debtors.

        11.     In support of the Application, I disclose the following:

                (a)      Unless otherwise stated, this Declaration is based upon facts of which I

        have personal knowledge.

                (b)      The facts stated in this Declaration as to the relationship between Carmody

        MacDonald lawyers and the Debtors, the Debtors’ creditors, other parties in interest to

        these Chapter 11 cases, the United States Trustee, and persons employed by the Office of

        the United States Trustee are stated to the best of my knowledge, information, and belief

        and are based on the results of the searches and inquiries described in the following

        paragraphs.

                (c)      In preparing this Declaration, I have (i) caused to be conducted a search of

        Carmody MacDonald’s conflict-check system (“Conflict Database”) in respect of all of

        the names listed on Attachment 2 (the “Conflict Checklist”), which were provided to

        me; and (ii) caused to be disseminated a written request for information to all of the

        attorneys of Carmody MacDonald regarding connections to the Debtors and the names

        listed on the Conflict Checklist (“Potential Parties-In-Interest”).

        12.     Carmody MacDonald’s Conflict Database is comprised of records regularly

 maintained in the ordinary course of business of the firm. It is the regular practice of the firm to

 make and maintain these records. It reflects entries that are noted in the system at the time the

 information becomes known by persons whose regular duties include recording and maintaining

 this information. I regularly use and rely upon the information contained in the system in the
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 performance of my duties with the law firm and in my practice of law.

        13.     Matches between the Conflict Database and the list of Potential Parties-In-Interest

 were identified (“Conflicts Report”). Individuals or entities that were adverse to Carmody

 MacDonald’s clients were deleted. The remaining connections with regard to which Carmody

 MacDonald had represented the client were compiled and provided to me for purposes of this

 Declaration.

        14.     In addition, a general inquiry to all Carmody MacDonald attorneys was sent by

 electronic mail to determine if any attorney was aware of any representation or client relationship

 that would present a conflict of interest with respect to Carmody MacDonald’s representation of

 the Debtors in these Chapter 11 cases.

        15.     Based on the Conflicts Report, it appears that Carmody MacDonald (i) does not

 hold or represent an interest adverse to and has no connection with the Debtors, their creditors, or

 any Potential Parties-In-Interest in connection with the scope of Carmody MacDonald’s retention

 in these Chapter 11 cases, and (ii) is a “disinterested person” within the meaning of Section

 101(14) of the Bankruptcy Code. In addition, the descriptions of the relationships between the

 Potential Parties-In-Interest and the Debtors contained herein are based on the descriptions

 contained in the Conflict Checklist.

        16.     The Conflicts Report, searches and request for information described above

 revealed the following connections:

                (a)      Bank of America, N.A. and Bank of America (collectively, “Bank of

        America”) are, respectively, identified on the Conflict Checklist. Carmody MacDonald

        currently represents or has represented Bank of America and/or certain of its affiliates in

        connection with certain banking, finance, trust, and litigation matters that are unrelated to
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       the Debtors and these Chapter 11 cases. Additionally, a Carmody MacDonald attorney,

       Leo MacDonald Sr., serves as a co-trustee with Bank of America and/or certain of its

       affiliates in connection with numerous trusts held with Bank of America and/or certain of

       its affiliates, all of which are unrelated to the Debtors and these Chapter 11 cases.

                (b)      Citibank and Citibank, N.A. (collectively, “Citibank”) are identified on

       the Conflicts Checklist. Carmody MacDonald has previously represented a different

       client who was a co-defendant of Citibank in a certain litigation matter that is unrelated to

       the Debtors and these Chapter 11 cases.

                (c)      Wells Fargo is identified on the Conflicts Checklist. Carmody MacDonald

       has represented and may represent in the future Wells Fargo and/or certain of its affiliates

       in connection with certain banking and finance matters that are unrelated to the Debtors

       and these Chapter 11 cases.

                (d)      JP Morgan, J.P. Morgan Investment Management, Inc., and J.P. Morgan

       Chase (collectively, “JP Morgan”), are, respectively, identified on the Conflicts

       Checklist. Carmody MacDonald has previously represented JP Morgan and currently

       represents certain of its affiliates in connection with certain estate, banking, finance, and

       commercial real estate matters that are unrelated to the Debtors and these Chapter 11

       cases.

                (e)      Fifth Third Bank is identified on the Conflicts Checklist.        Carmody

       MacDonald currently represents or has represented Fifth Third Bank and/or certain of its

       affiliates in connection with certain banking, finance and litigation matters that are

       unrelated to the Debtors and these Chapter 11 cases.

                (f)      James Hardie Building Products is identified on the Conflicts Checklist.
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       Carmody MacDonald has previously represented James Hardie Building Products in

       connection with certain litigation matters that are unrelated to the Debtors and these

       Chapter 11 cases.

              (g)      3M Company and 3M (collectively, “3M Company”) are identified on the

       Conflicts Checklist.   Carmody MacDonald currently represents or has represented a

       different client who was an allied party to 3M Company in connection with certain

       litigation matters that are unrelated to the Debtors and these Chapter 11 cases.

              (h)      Hussmann is identified on the Conflicts Checklist.               One or more

       employees of Carmody MacDonald has personal and/or business connections with Brian

       J. Hostetler of Hussmann Corporation, which such personal and/or business connections

       are unrelated to the Debtors and these Chapter 11 cases. Mr. Hostetler and Hussman

       Corporation are not current or former clients of Carmody MacDonald.

              (i)      Johnson Controls is identified on the Conflicts Checklist.           Carmody

       MacDonald previously served as local counsel for Johnson Controls in connection with a

       litigation matter that is unrelated to the Debtors and these Chapter 11 cases.

              (j)      Gail E. Lehman, Stephen Robuck, Mike Fox, Todd D. Barrett and Pansy

       Johnson are identified on the Conflicts Checklist. Carmody MacDonald currently

       represents or has represented individuals with the last name “Lehman,” “Robuck,” “Fox,”

       “Barrett,” and “Johnson” on various matters that are unrelated to the Debtors and these

       Chapter 11 cases and does not believe these persons to be, or be related to, the Gail E.

       Lehman, Stephen Robuck, Mike Fox, Todd D. Barrett and Pansy Johnson that are

       identified on the Conflicts Checklist.

              (k)      Liberty Mutual Fire Insurance Co. and Liberty Surplus Insurance Corp.
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       (collectively, “Liberty”) are identified on the Conflicts Checklist. Carmody MacDonald

       currently represents or has represented one or more entities whose names contain the

       word “Liberty” on various matters that are unrelated to the Debtors and these Chapter 11

       cases and does not believe these entities to be the Liberty listed on the Conflicts

       Checklist.

              (l)      Zurich is identified on the Conflicts Checklist. Carmody MacDonald has

       previously represented Zurich North American in a litigation matter that is unrelated to

       the Debtors and these Chapter 11 cases.

              (m)      General Electric Company is identified on the Conflicts Checklist.

       Carmody MacDonald currently represents or has represented General Electric Company

       and/or certain of its affiliates in connection with certain litigation matters that are

       unrelated to the Debtors and these Chapter 11 cases.

              (n)      Georgia-Pacific, LLC is identified on the Conflicts Checklist. Carmody

       MacDonald has previously represented Georgia-Pacific, LLC and/or certain of its

       affiliates in connection with certain litigation matters that are unrelated to the Debtors and

       these Chapter 11 cases.

              (o)      ACE American Insurance Company is identified on the Conflicts

       Checklist. Carmody MacDonald currently represents ACE American Insurance Company

       and/or certain of its affiliates in connection with a different bankruptcy case unrelated to

       the Debtors and these Chapter 11 cases.

              (p)      Osburn, Hine, Yates & Murphy, LLC is identified on the Conflicts

       Checklist. Carmody MacDonald currently represents or has represented one or more

       individuals with the last name “Osburn” on various matters that are unrelated to the
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       Debtors and these Chapter 11 cases and does not believe these persons to be the related to

       the named attorney of Osburn, Hine, Yates & Murphy, LLC that is identified on the

       Conflicts Checklist.

                (q)      Wolters Kluwer Financial Services is identified on the Conflicts Checklist.

       Carmody MacDonald currently represents or has represented a different client who is an

       allied party to Wolters Kluwer Financial Services in connection with certain litigation

       matters that are unrelated to the Debtors and these Chapter 11 cases.

                (r)      Ziegler is identified on the Conflict Checklist. Carmody MacDonald may

       currently represent or has represented Ziegler Company, Inc. in certain litigation matters

       that are unrelated to the Debtors and these Chapter 11 cases.

                (s)      AT&T is identified on the Conflicts Checklist. Carmody MacDonald

       currently represents or has represented a different client who is an allied party to AT&T in

       connection with certain litigation matters that are unrelated to the Debtors and these

       Chapter 11 cases.

                (t)      Bryan Cave LLP is identified on the Conflicts Checklist. Several attorneys

       associated with Carmody MacDonald, including myself, formerly practiced with Bryan

       Cave LLP. Additionally, Carmody MacDonald and Bryan Cave LLP have acted as co-

       counsel on certain litigation matters that are unrelated to the Debtors and these Chapter 11

       cases.

                (u)      Metal Exchange Corporation is identified on the Conflicts Checklist.

       Carmody MacDonald currently represents or has represented a different client who is an

       allied party to Metal Exchange Corporation in connection with certain litigation matters

       that are unrelated to the Debtors and these Chapter 11 cases.
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              (v)      Whelan Security Co. is identified on the Conflicts Checklist. Carmody

       MacDonald has previously represented Whelan Security Co. in connection with certain

       litigation matters that are unrelated to the Debtors and these Chapter 11 cases.

              (w)      Amerenue (“Ameren”) is identified on the Conflicts Checklist. Carmody

       MacDonald submitted a Response to Legal Services Statement of Need for [Project] to

       Ameren and/or its affiliates in 2015.      Carmody MacDonald has not currently been

       selected to represent Ameren and/or its affiliates on such project.

              (x)      One or more of Carmody MacDonald’s attorneys were or may have been

       previously employed by certain law firms and accounting firms listed on the Conflicts

       Checklist and, during such employment, represented one or more Potential Parties-in-

       Interest in matters that are unrelated to the Debtors or these Chapter 11 cases.

              (y)      One or more of the Potential Parties-In-Interest may be suppliers and

       vendors to Carmody MacDonald, and Carmody MacDonald believes that any such

       relationship is unrelated to these Chapter 11 cases and will have no effect on its

       representation of the Debtors in these Chapter 11 cases.

              (z)      Carmody MacDonald was retained as local counsel to the Official

       Committee of Unsecured Creditors of Patriot Coal Corporation, et al., in connection with

       Patriot Coal Corporation’s Chapter 11 bankruptcy in this District (the “Patriot

       Bankruptcy”); and, accordingly, in the Patriot Bankruptcy, Carmody MacDonald

       indirectly represented various lenders, bondholders, customers, key vendors and other

       Potential Parties-In-Interest. The Patriot Bankruptcy is unrelated to these Chapter 11

       cases, and Carmody MacDonald believes that its indirect representation of such lenders,

       bondholders, customers and other Potential Parties-In-Interest in the Patriot Bankruptcy
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       has not affected and will not affect its representation of the Debtors in these Chapter 11

       cases.

                (aa)   One or more clients of Carmody MacDonald may now own or later

       purchase secured or unsecured claims against the Debtors. Carmody MacDonald believes

       that its representation of such parties in matters that are unrelated to these Chapter 11

       cases will have no effect on its representation of the Debtors in these Chapter 11 cases.

                (bb)   Attorneys associated with Carmody MacDonald or their family members

       (i) may have mortgages, consumer loans, or other banking relationships with the Debtors’

       lenders and banks; and (ii) may own debt or equity securities issued by Potential Parties-

       In-Interest in amounts that are not material from the issuer’s perspective.

                (cc)   Carmody MacDonald is a full service law firm with active real estate,

       corporate and litigation practices. As part of its practice, Carmody MacDonald appears in

       cases, proceedings, and transactions involving many different attorneys, accountants,

       financial consultants, and investment bankers, some of which now or may in the future

       represent Potential Parties-In-Interest.

                (dd)   Because of the size of this case and the possibility of trading in claims and

       equity interests, Carmody MacDonald may represent other entities that have a connection

       with the Debtors but were not disclosed to Carmody MacDonald or uncovered in my

       investigation. However, my review indicates that Carmody MacDonald does not represent

       any such entity in connection with these Chapter 11 cases.

                (ee)   Based upon an email inquiry made of all Carmody MacDonald attorneys

       and staff, and the lack of any affirmative replies to such inquiry, it is my understanding

       that no Carmody MacDonald attorney or their respective immediate family members own
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        Noranda Aluminum Holding Corporation’s stock (Ticker Symbol “NORN”) or are

        creditors of the Debtors. Carmody MacDonald attorneys and staff invest in a broad array

        of mutual funds and ETFs, some number of which either currently or may in the future

        own securities of Noranda Aluminum Holding Corporation or some of its creditors.

        17.     If Carmody MacDonald is unable to represent the Debtors in an adversary

 proceeding or contested matter adverse to the interests of another client of the firm, Carmody

 MacDonald will so advise the Debtors, and that proceeding, or the relevant portion thereof, will

 be handled by other counsel for the Debtors whose retention has been approved by the Court.

        18.     Carmody MacDonald submits that none of the foregoing representations or

 connections constitutes Carmody MacDonald’s holding or representing an interest adverse to the

 Debtors or their estates.

        19.     Except for the Debtors, neither I nor Carmody MacDonald will represent any

 entity in connection with this case, unless otherwise authorized by the Court.

        20.     To the best of my knowledge, information, and belief, neither Carmody

 MacDonald nor any attorney associated with Carmody MacDonald:

                (a)      is a creditor, an equity security holder, or an insider of the Debtors;

                (b)      is or has been, within two years before the filing of these cases, a director,

        officer, or employee of the Debtors; or

                (c)      has an interest materially adverse to the interests of the Debtors’ estates or

        of any class of creditors or equity security holders, by reason of any direct or indirect

        relationship to, connection with, or interest in the Debtors, or for any other reason.

        21.     The professional fees and costs incurred by Carmody MacDonald in the course of

 its representation of the Debtors in these cases will be subject in all respects to the application
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 and notice requirements of Sections 327, 330, and 331 of the Bankruptcy Code and Federal Rules

 of Bankruptcy Procedure 2014 and 2016.

        22.     There is no agreement of any nature as to the sharing of any compensation to be

 paid to Carmody MacDonald, other than sharing among the shareholders, partners and associates

 of Carmody MacDonald. No promises have been received by Carmody MacDonald nor any

 shareholder, partner or associate thereof as to compensation in connection with these cases, other

 than in accordance with the provisions of the Bankruptcy Code.

        23.     I am not related to, and to the best of my knowledge no other attorney associated

 with Carmody MacDonald is a relative of, any Bankruptcy Judge in this District, the United

 States Trustee, or any person employed by the Office of the United States Trustee.

        24.     Except as disclosed above, I do not believe that there is any other connection (as

 such term is used in Federal Rule of Bankruptcy Procedure 2014(a)) between Carmody

 MacDonald and the Debtors, creditors, any other party in interest, their respective attorneys and

 accountants, the United States Trustee, or any person employed by the Office of the United States

 Trustee.

        25.     Pursuant to Part D-1 of the Guidelines for Reviewing Applications for

 Compensation and Reimbursement of Expenses Filed Under United States Code by Attorneys in

 Larger Chapter 11 Cases, 78 Fed. Reg. 36248 (June 17, 2013) (the “2013 Guidelines”), I make

 the following disclosures:

                (a)      Carmody MacDonald did not agree to any variations from, or alternatives

        to, its standard or customary billing arrangements for this engagement for similar matters.

                (b)      None of the professionals included in this engagement vary their rates

        based on the geographic location of the bankruptcy case.
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                   (c)      The billing rates and material financial terms of Carmody MacDonald’s

        pre-petition engagement by the Debtors have not changed post-petition. There were no

        material adjustments to the engagement during the 12 months pre-petition, except for the

        retainer payment described above.

        26.        Pursuant to Part F of the 2013 Guidelines, I disclose that Paul Weiss is acting as

 lead counsel in the restructuring aspects of this engagement. Carmody MacDonald will report to

 the Debtors’ management and will work closely with the Debtors and Paul Weiss to determine

 which restructuring or other issues may be more efficiently handled by Carmody MacDonald.

 Such issues will include addressing matters of local practice and customs in this Court and

 questions arising under the law of Missouri and other states in which Paul Weiss does not

 practice. Although no definitive division of responsibility has yet been made with respect to

 matters that may arise in later stages of these cases, I understand that it is likely that Carmody

 MacDonald will have responsibility for appropriate matters to assist on various matters as

 determined by the Debtors and Paul Weiss. Although Carmody MacDonald is primarily being

 employed as “local counsel,” the Debtors may assign responsibility to Carmody MacDonald for

 particular matters that Paul Weiss would normally handle. Carmody MacDonald’s rates are

 reasonable for a matter such as this, and Carmody MacDonald does not expect to incur material

 travel expenses in connection with the restructuring aspects of this engagement.

        27.        In connection with ongoing communications with the United States Trustee for

 these cases Carmody MacDonald will supply information where available, as requested,

 including Carmody MacDonald’s approved budgetary and staffing plans for these cases, as

 approved by the Debtors, that will be filed with the Court and otherwise supplied to the United

 States Trustee.
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        I declare under penalty of perjury that the foregoing is true and correct. Executed on

 February 17, 2016.


                                             /s/ Christopher J. Lawhorn
                                             Christopher J. Lawhorn
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                                     Attachment 1

                                   Engagement Letter
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                                     Attachment 2

                           List of Potential Parties in Interest
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                        LIST OF POTENTIAL PARTIES IN INTEREST

 (A) DEBTORS, NON-DEBTOR AFFILIATES,              GoldenTree Asset Management, LP
 AND SUBSIDIARIES                                 Goldman Sachs Group, Inc. (The)
 NHB Capital, LLC                                 Guggenheim Investment Management, LLC
 Noranda Bauxite Holdings Ltd.                    Guggenheim Partners Asset Management, LLC
 Noranda Bauxite Ltd.                             Guggenheim Partners Investment
 Gramercy Alumina Holdings II, Inc.               Guggenheim Partners Investment Management LLC
 Gramercy Alumina Holdings Inc.                   H.I.G. Whitehorse Capital LLC
 Noranda Alumina LLC                              Hotchkis & Wiley Capital Management
 Noranda Aluminum Acquisition Corporation         JP Morgan
 Noranda Aluminum Holding Corporation             Madison Park Funding IV
 Noranda Aluminum, Inc.                           Madison Park Funding VIII
 Noranda Intermediate Holding Corporation         Madison Park Funding XV
 Norandal USA, Inc.                               MJX Asset Management, LLC
 Noranda Jamaica Bauxite Partners                 Napier Park Global Capital LP
 (B) ADMINISTRATIVE AGENTS                        Nomura Corporate Research and Asset Management
 Bank of America, N.A.                            Inc.
 Cortland Capital Market Services LLC             Siemens
 (C) INDENTURE TRUSTEE                            Silvermine Capital Management LLC
 U.S. Bank National Association                   Sound Harbor Partners
 (D) BANKRUPTCY JUDGES                            Strategic Value Partners, LLC
 Chief Judge Kathy Surratt-States                 Surela Investments Ltd. (Sherwin Alumina)
 Judge Barry S. Schermer                          UBS
 Judge Charles E Rendlen, III                     US Bank
 (E) BANKRUPTCY PROFESSIONALS                     Wells Fargo
 Alvarez & Marsal North America, LLC              Whitehorse Capital Partners LP
 Paul, Weiss, Rifkind, Wharton & Garrison LLP     (G) BONDHOLDERS
 PJT Partners                                     Brownstone Investment Group, LLC
 Prime Clerk                                      Concise Capital, LLC
 (F) LENDERS                                      Credit Suisse Asset Management, LLC (U.S.)
 3i Debt Management US LLC                        Euroclear Bank
 Aegon USA Investment Management LLC              Fidelity International Limited - FIL Investment
 Allianz Global Investors US LLC                  Services (U.K.), Ltd.
 Atrium XI                                        Fore Research & Management, L.P.
 Bank of America                                  Garland Business Corp
 Bank of America, N.A.                            Hotchkis and Wiley Capital Management, LLC
 Barclays                                         J.P. Morgan Investment Management, Inc.
 Bentham Wholesale Syndicated                     Morgan Stanley Wealth Management
 BlueMountain Capital Management, LLC             NNIP Advisors B.V.
 Boston Management and Research                   Nomura Corporate Research and Asset Management,
 Carlson Capital LP                               Inc. (U.S.)
 Carlyle Investment Management LLC                Stocks and Securities, Ltd.
 Centerbridge Group                               Third Avenue Management, LLC
 Citibank                                         Tocqueville Asset Management, L.P.
 Citibank, N.A.                                   UBS Securities, LLC
 Columbia Management Investment Advisers LLC      (H) BANKS
 Credit Suisse                                    Bank of America
 Credit Suisse                                    M & T Bank
 Credit Suisse AG                                 JP Morgan Chase
 Credit Suisse Alternative Capital LLC            Fifth Third Bank
 Eaton Vance Management Inc.                      Bank of Nova Scotia
 Foothill Capital Corporation                     National Commercial Bank
 Fraser Sullivan Investment Management LLC        (I) SIGNIFICANT CUSTOMERS
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 3M Company                                           General Cable Corporation
 A. J. Oster West, Inc.                               General Cable de Mexico, S.A. de C.V.
 AAF-McQuay Inc.                                      General Motors Components Hold
 AAON Coil Products, Inc.                             GEO Specialty Chemicals
 ABB Inc.                                             Gibbs Die Casting Corporation
 AKG North American Operations                        Glencore Ltd.
 Alcoa                                                Glitterex Corporation
 All Foils Inc.                                       H & W Wire Corp.
 AMS                                                  Handi-Foil
 ARG International AG                                 Howard Industries
 Ascend Custom Extrusions, LLC                        Hydro Aluminum
 Autoneum North America, Inc.                         Hydro Aluminum North America
 Avery Dennison Corporation                           Ideal Tape Co., Inc.
 Bard Manufacturing                                   Intertape Polymer Group
 Berry Plastics Corp.                                 J M Huber Corporation
 Bohn de Mexico, S.A. de C.V.                         J. Aron & Co.
 Brady Corporation                                    James Hardie Building Products
 Brazeway Inc.                                        JBC Technologies
 BRT Extrusions, Inc.                                 Kemira Water Solutions, Inc.
 C & H Die Casting                                    KY Assoc. of Electric Coop.
 Cadillac Products Packaging Company                  Lasalle Bristol Corporation
 Carrier Air Conditioning                             Lennox Industries, Inc.
 Carrier Mexico S.A. de C.V.                          Leroy Somer North America
 CBC Metals Processing                                Liebert Corporation
 Central Moloney, Inc.                                Lite Gauge Metals
 Century Aluminum Company                             Luvata Heatcraft
 Century Aluminum of Sebree LLC                       Lydall Thermal/Acoustical
 Chief Industries                                     Lynch Metals
 Claridge Products & Equip Inc.                       Marley Electric Heating Co.
 Claridge Products & Equipment                        Marubeni America Corp./Detroit
 Coating Excellence International                     Medalco Metals, Inc.
 Coilmaster Corporation                               Metal Exchange Corp.
 Colmac Coil Manufacturing Inc.                       Mitsubishi International Corporation
 Comet Metals Co.                                     Modine Manufacturing Co.
 Conductores Monterrey, S.A. de C.V.                  Nehring Electrical Works Co
 Constellium                                          New Age Industrial Corp Inc.
 Cooper Industries/RTE                                Nordyne Inc.
 Crown Extrusions, Inc.                               Peerless of America, Inc.
 Custom Aluminum Products, Inc.                       Penn Aluminum International LLC
 Custom Grinders                                      Penny Plate Inc.
 Custom Laminating Corporation                        Ply Gem
 D & W Fine Pack                                      Porocel Industries, LLC
 Daikin Applied                                       Power Partners, Inc.
 Dee Zee, Inc.                                        PQ Corporation
 Des Champs Laboratories                              Printpack, Inc.
 DRS-Marlo Coil                                       Prolec GE International
 Durable, Inc.                                        Prometco
 Electric Research & Manufacturing Co.                Prysmian Cables and Systems USA LLC
 Electromanufacturas, S. de R.L. de C.V.              REA Magnet Wire Co. Inc.
 Elixir Extrusions, LLC                               Research Products Corp.
 Elringklinger USA, Inc.                              Revere Packaging
 Encore Wire Corporation                              Rheem Manufacturing Company
 Evapco, Midwest                                      RPS Products
 FCA US                                               Samuel
 Flexcon Industrial, LLC                              Scepter Resources
 Gateway Extrusions, Ltd.                             Shurtape Technologies, Inc.
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 Siemens Energy, Inc.                       RELEVANT TO THE DEBTORS
 Siplast Incorporated                       Government of Jamaica
 Smart USA                                  (L) RELEVANT TAXING AUTHORITIES
 Snap-Lok, Inc.                             Alabama Department of Labor
 Southeastern Tool & Die                    Alabama Department of Revenue
 Southern Ionics                            Arizona Dept. of Revenue
 Southwest Electric Company                 Arkansas Department of Finance and Administration
 Sun Process Converting, Inc.               Arkansas Department of Workforce Services
 Super Radiator Coils                       California State Board of Equalization
 Superior Essex                             Carroll County Trustee
 Superior Essex Communications              Collector of Taxes, Jamaica
 Superior Essex International LP            Corporation Income Tax, State of Arkansas
 Superior Extrusion, Inc.                   Delaware Division of Revenue
 Swarco                                     Department of Finance & Administration, State of
 Temtrol                                    Arkansas
 The Okonite Company                        Department of the Treasury
 The Trident Company                        Florida Department of Economic Opportunity
 Three D Metals, Inc.                       Florida Department of Revenue
 Thyssenkrupp Materials NA                  Georgia Department of Revenue
 Tower Extrusions                           Illinois Department of Employment Security
 Trafigura Trading LLC                      Illinois Department of Revenue
 Trane Air Conditioning                     Indiana Dept. of Revenue
 Trinidad Benham Corp                       Inland Department of Revenue of St. Lucia
 UOP, LLC                                   Internal Revenue Service Headquarters Building
 US Alco                                    Iowa Dept. of Revenue
 Ventrol Air Handling Systems Inc.          Jackson County, Dianne Burgess Collector
 W. R. Grace & Co.                          Kansas Dept. of Revenue
 Western Extrusion Corporation              Kentucky Department of Revenue
 Western Plastics Inc.                      Louisiana Department of Revenue
 (J) DIRECTORS & OFFICERS                   Massachusetts Dept. of Revenue
 Alan H. Schumacher                         Missouri Department of Revenue
 Antoine Liddell                            Missouri Department of Labor
 Carl J. Rickertsen                         N.C. Department of Revenue
 Carol R. Clifton                           Nebraska Dept. of Revenue
 Dale W. Boyles                             New Jersey Department of Labor and Workforce
 Donald J. Suray                            Development
 Elliot G. Sagor                            New Jersey Division of Taxation
 Gail E. Lehman                             New Madrid County Collector - Dewayne Nowlin
 Greg L. North                              New York State Dept. of Taxation and Finance
 John Habisreitinger                        North Carolina Department of Revenue
 Julio C. Diniz Costa                       NYS Corporation Tax
 Layle K. Smith                             Pennsylvania Department of Revenue
 Michael J. Griffin                         Pennsylvania Dept. of Labor and Industry
 Mike Fox                                   Rowan County Tax Collector
 Nina A. Corey                              South Carolina Department of Revenue
 Pansy Johnson                              St. James Parish Property Taxes
 Pasquale "Pat" Fiore                       St. John Parish Property Taxes
 Patrice Niedbalski                         State of Louisiana Unemployment Office
 Richard B. Evans, Chairman                 State of New Jersey
 Ronald S. Rolfe                            State of New Mexico
 Scott M. Croft                             State of Tennessee
 Stephen Robuck                             State of Tennessee Unemployment Office
 Thomas R. Miklich                          State of Texas Unemployment Office
 Todd D. Barrett                            Tax Administration Jamaica, King Street Revenue
 William H. Brooks                          Centre
 (K) PERMIT ISSUERS AND REGULATORS          Tennessee Department of Revenue
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 Texas Comptroller of Public Accounts                  General Gasket Corporation
 Texas Department of Revenue                           Georgia-Pacific, LLC
 Town of Huntingdon                                    Goodison Mining Limited
 Washington Department of Revenue                      Government of Jamaica
 Washington Employment Security Department             Grinnell, LLC
 Williamson County, TN                                 Honeywell International, Inc.
 Wisconsin Department of Revenue                       J.P. Bushnell Packing Supply Co.
 (M) Insurance Providers                               John Crane, Inc.
 ACE American Insurance Company                        Kaiser Jamaica Bauxite Company
 ACE Bermuda Insurance                                 Louisiana Department of Environmental Quality
 ACE Property & Casualty Insurance Company             (LDEQ)
 ACE Property & Casualty Insurance Company             Metropolitan Life Insurance Company
 AIG Europe Limited                                    Navar, Inc.
 American Guarantee & Liability Ins.                   Pnuemo Abex Corporation
 American International Reinsurance Co.                Rachel Carlton
 Aspen Insurance- United Kingdom                       Riley Power, Inc. f/k/a Riley Stoker Corporation
 Axis Insurance Company                                The Dow Chemical Company
 Berkley Insurance Co.                                 The J.R. Clarkson Company, successor to The
 Commerce and Industry Insurance Company               Knuckle Valve Company and successor to J.E.
 Endurance Risk Solutions ASS                          Lonergan Company
 Factory Mutual Insurance Co.                          Union Carbide Corporation
 Freedom Specialty Insurance Co.                       (P) ORDINARY COURSE PROFESSIONALS
 Hanseatic Insurance Co.                               Burris, Thompson & Associates
 Illinois National Insurance Co.                       Cambridge Advisory Group, Inc.
 Insurance Co. of State of PA                          Cole Schotz, P.C.
 Liberty Mutual Fire Ins. Co.                          Crowe Horwath LLP
 Liberty Surplus Ins. Corp.                            Davis Polk
 Lloyds of London                                      Fay, Nelson & Fay, LLC
 National Union Fire Insurance Co. of Pittsburgh, PA   FDH Consulting, LLC
 Navigators Insurance Company                          FDH Resources, LLC
 New Hampshire Insurance Company                       Frost Brown Todd, LLC
 North American Specialty Insurance Company            Greystone Capital Partners
 Ohio Casualty Insurance Co                            Henry W. Fayne
 Scor UK Company                                       Jackson Lewis LLP
 Starr Indemnity & Liability Company                   Kean, Miller, Hawthorne, D'Armond, McCowan &
 Steadfast Insurance Company                           Jarman, LLP
 Swiss Re International                                Lattimore, Black, Morgan, & Cain, PC
 Twin City Fire Insurance Co.                          Matthews & Zahara, P.C.
 Xl Insurance America, Inc.                            McHaney & Associates, Inc.
 Zurich                                                Morgan, Lewis & Bockius, LLP
 (N) LANDLORDS                                         O'Melveny & Myers LLP
 Five Corporate Centre Acquisition Company             Osburn, Hine, Yates & Murphy, LLC
 Max Trans                                             PerformPlus Consulting, LLC
 SH Bell Company                                       Polsinelli PC
 (O) LITIGATION COUNTERPARTIES                         Porter Hedges LLP
 Asbestos Corporation, Limited                         Robinson & Lawing, LLP
 Cape Fox Corporation                                  Saiber LLC
 Caterpillar, Inc.                                     Sedgwick Law
 CBS Corporation, f/k/a Viacom, Inc., merger to CBS    Semler Brossy Consulting Group, LLC
 Corporation, f/k/a Westinghouse Electric Corp.        Steven Plotkin
 Certain-Teed Corporation                              Thompson Hine, LLC
 Continental Teves, Inc.                               Towers Watson Delaware, Inc.
 Crown, Cork and Seal Company, Inc.                    Vaco, LLC
 CSR, Ltd., a/k/a Consolidated Sugar and Refining      Wachtell, Lipton, Rosen & Katz
 Donjon Marine Co. Inc.                                Windrow Phillips Group
 General Electric Company                              (Q) NON-LENDER SECURED PARTIES
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 A & B Transport, Inc.                           Paincourtville Motor Service, Inc.
 AEP River Operations LLC                        Penzel Construction Company
 American River Transportation                   Ports America, Inc.
 Ameridrivers International                      Primetals Technologies USA,LLC
 Anytime Hotshot & Delivery                      Quality Carriers, Inc.
 AOA Services, Inc.                              R&L Carriers, Inc.
 Artco                                           Radiatronics NDT, Inc.
 Averitt Express, Inc.                           Remedial Construction Services L.P.
 AWC, Inc.                                       Ryder Capital, S.A. de C.V.
 Boland Marine & Manufacturing Company           Saia Motor Freight Line, Inc.
 Buchheit Trucking Service, Inc.                 Satterfields
 CDW Direct, LLC                                 Scepter, Inc.
 Celtic Marine Corporation                       Schwerman Trucking Co.
 CN                                              Scott Financial Services, LLC
 Con-Way                                         SH Bell Company
 CRH Transportation                              Shultz Steel Company
 CSX Transportation                              SNT Trucking & Warehousing
 Cummings-Moore Graphite Co.                     Southeastern Freight Lines
 Dayton Freight Lines Inc.                       St Jude Harbor New Madrid Harbor Serv.
 DHL Express                                     St. James Stevedoring Partners, LLC
 Direct Freight Corporation                      St. John Fleeting, LLC
 DMI Contractors, Inc.                           St. Jude & New Madrid Harbor Service, Inc.
 DNOW L.P. (Wilson Mill, Tool)                   Superior Carriers, Inc.
 Eagle Ship Supply, Inc.                         TBS Logistics Mo
 Em-Cal Inc.                                     Tennessee Aluminum Processors, Inc.
 Estes Express Lines                             The CIT Group/Capital Finance, Inc.
 Faith Global Transportation, LLC                Transwood Logistics, Inc.
 Farmers Oil Corp.                               Union Pacific Railway
 Federal Express                                 United Parcel Service
 Four Star Fabricators Inc.                      United Power Services
 FTI Logistics                                   USF Holland
 GE Canada                                       Xtek, Inc.
 General Electric Canada                         Youngstown Hard Chrome
 Geodis Wilson USA, Inc.                         YRC
 Gulf Inland Marine Services, Inc.               Ziegler
 Hapag Lloyd (America) Inc.                      (R) SIGNIFICANT COMPETITORS
 Hot Shot Freight                                Alcoa
 Hull Trucking                                   Aleris
 Ingram Barge Company                            Alexin LLC
 K.S. & D., Inc.                                 Alpha Aluminum Products Inc.
 Kansas City Southern Railway                    Century Aluminum
 Livingston International                        Glencore
 LME, Inc.                                       JW Aluminum
 Lock City Trucking, Inc.                        Matalco
 Lufkin Southeastern Gear Repair                 Norsk Hydro
 M & S Specialized LLC                           Novelis
 Marisol International LLC                       Rio Tinto Alcan
 Max Trans L.L.C.                                Sherwin
 Mid-Ship Group LLC                              Southwire
 Mid-Ship Logistics Group                        Sural
 Motion Industries, Inc.                         (S) SIGNIFICANT SHAREHOLDERS
 Neo Industries Inc. (05)                        Hotchkis & Wiley Capital Management
 Nola Logistics Services, LLC                    Royce and Associates Inc.
 Nova Hydraulics                                 (T) 30 LARGEST UNSECURED CREDITORS
 Oakley Trucking, Inc.                           American River Transportation
 Old Dominion Freight Line                       Aramark
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 Artisan Contracting, LLC                              Carroll County Electric Dept.
 Associated Terminals, LLC                             Centerpoint Energy
 Boh Brothers Construction Co., L.L.C.                 Charter Communications Holding Co.
 Carmeuse Lime Sales Corporation                       Chemical Waste Management Inc.
 DMI Contractors, Inc.                                 Cintas Fire Protection
 Donjon Marine Co. Inc.                                City of Salisbury
 EIU, Inc.                                             Comcast
 Goodison Mining Limited                               Continuum Retail Energy Services, LLC
 HDR Inc.                                              Cox Communications Louisiana, LLC
 Koppers Industries, Inc.                              Diaz Water Department
 Kostmayer Construction, LLC                           Downums Disposal Service
 Max Trans L.L.C.                                      Duke Energy
 Mechatherm                                            Enable Gas Transmission, LLC
 Mexichem Fluor Comercial, S.A. de C.V.                Entergy Services, Inc.
 Mid-Ship Group LLC                                    Lemons Landfill Corporation
 Motion Industries, Inc.                               Level 3 Communications, LLC
 Nalco Company                                         Liberty Utilities
 Nissan Lift Trucks                                    Pemiscot-Dunklin Electric Cooperative
 Occidental Chemical Corporation                       Piedmont Natural Gas Co.
 Petrocoque S.A.                                       Republic Services
 Progressive Roofing                                   Republic Waste Services of North Carolina, LLC
 Rain CII Carbon, L.L.C.                               St. Jude Industrial Park Board
 Remedial Construction Services L.P.                   St. John the Baptist Parish Utilities
 Sherwin Alumina Co., LLC                              Texican Horizon Energy Marketing LLC
 Steward Steel                                         Town of Huntingdon
 U.S. Bank National Association                        Twin Eagle Resource Management, LLC
 University and Allied Workers Union                   Union Electric Company
 Vecta Environmental Services, LLC                     Verizon Wireless
 (U) U.S. TRUSTEE                                      Waste Management of TN-Jackson
 Barbara J. Dorsey                                     West TN Public Utilities Dist.
 Cynthia E. Moore                                      (X) KEY VENDORS
 Karen R. Wilson-Smith                                 3M
 Kathy Lickenbrock                                     A. Karchmer & Sons, LLC
 Leonora S. Long                                       A.W. Chesterton Company
 Margaret E. Slaughter                                 Air Products & Chemicals, Inc.
 Martha M. Dahm                                        Alcoa Primary Metals
 Paul Randolph                                         Alcoa, Inc. North America Primary Division
 Sandra Herling                                        Aluminpro, Inc.
 (V) UNIONS                                            Aluminum Rheinfelden GmbH
 Bustamante Industrial Workers Union (BITU)            Aluminum Rheinfelden GmbH
 International Association of Machinists & Aerospace   American Chemical Technologies
 Workers                                               American Iron & Metal
 Union of Technical, Administrative and Supervisory    American River Transportation
 Personnel (UTASP)                                     AMG Aluminum North America, LLC
 United Steelworkers of America                        AOA Services, Inc.
 University and Allied Workers Union (UAWU)            Aramark
 (W) UTILITY PROVIDERS                                 ARG International
 Air-Nu of Baton Rouge, L.L.C.                         Artisan Contracting, LLC
 Alcoa Primary Metals                                  Associated Electric Cooperative
 Allied Waste Services                                 Associated Terminals, LLC
 Amerenue                                              AT&T Mobility
 Associated Electric Cooperative                       Austin Fire Systems LLC
 AT&T                                                  Autoneum
 Atmos Energy Marketing, LLC                           Avkem International LLC
 Austin Fire Systems LLC                               Bank of America- HSA
 Big River Telephone Co. LDD, Inc.                     Bawtry Carbon International Limited
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 Belisle Machine and Tool                             Ideal Chemical & Supply Co.
 Bigbites Limited                                     Imrie-Gielow Inc.
 Bluequest Resources Overseas Ltd.                    Industrial Chemicals Inc.
 Boh Brothers Construction                            Intelex
 Brubaker Associates, Inc.                            J. Aron & Company
 Bryan Cave LLP                                       J.R. Hoe & Sons, Inc.
 Buss AG                                              JBM Inc.
 Calumet Lubricants Company                           Jiaozuo Fluochem Industry Co. Ltd
 Calumet Penreco                                      K.S. & D., Inc.
 Cape Electrical Supply Co.                           Kansas City Southern Railway
 Caraustar Ind., Inc.                                 KBM Affilips B.V.
 Carlton-Bates Company                                Koppers Industries, Inc.
 Carmeuse Lime Sales Corporation                      Kostmayer Construction, LLC
 Carrier Corporation                                  KT Grant, Inc.
 Carroll County Electric Dept.                        Leeds Specialty Alloys, LLC
 CCMA, LLC                                            Legacy Equipment
 Centerpoint Energy                                   Lemons Landfill Corporation
 CMC Recycling                                        Liberty Utilities
 CMC-Cometals                                         Linde, Inc.
 Continuus Spa                                        Lindsay Hamling
 Cornerstone Chemical Company                         Louisiana Department of Revenue Sales
 Crowe Horwath LLP                                    Lynn Whitsett Corporation
 Cytec Industries, Inc.                               M & S Specialized LLC
 Dark Horse Rail Service                              Madison Electric Service Inc.
 Deep South Crane & Rigging, LLC                      Manpower
 Dewayne Nowlin                                       Mars Machine and Repair Services
 DMI Contractors, Inc.                                Max Trans L.L.C.
 DNOW L.P. (Wilson PVF)                               Mechatherm International Ltd.
 Duke Energy                                          Merichem Chemicals & Refinery Services
 Ecovery, LLC                                         Metal Exchange Corporation
 Electroless Nickel Plating                           Metalloid Corporation
 Electroless Nickel Plating of LA                     Metaullics Systems / Pyrotek
 Entergy                                              Mexichem Fluor Comercial, S.A. de C.V.
 ERB Industrial Equipment                             MFA Oil Company
 Fleetwood-Signode                                    MH Equipment
 Four Star Fabricators Inc.                           Mid-Ship Group LLC
 Frost Brown Todd, LLC                                Motion Industries, Inc.
 GE Canada                                            Neuenhauser Maschinenbau GmbH
 General Cable de Mexico                              New Age Industrial Corp. Inc.
 General Electric Canada                              Nissan Lift Trucks
 Gexpro                                               Noble Americas Corp.
 GHD Engineering Group Inc.                           Noble Resources
 Glencore Commodities                                 Nola Logistics Services, LLC
 Glencore, Ltd.                                       Oakley Trucking, Inc.
 Gregory Construction                                 Occidental Chemical Corporation
 GSM Sales Formerly Globe                             Onedo Nalco Company - Dallas
 GT Commodities                                       Oxbow Calcining LLC
 Gulf Inland Marine Services, Inc.                    Paincourtville Motor Service, Inc.
 Harbison Walker Refractories                         Parman Energy Corporation
 HDR Inc.                                             Pemiscot-Dunklin Electric Cooperative
 Henry A. Petter Supply Co.                           Penzel Construction Company
 Hertwich Engineering GmbH                            Petrocoque S.A.
 Hoesch Metallurgie GmbH                              Phelps Dodge International
 Houghton International, Inc. (D.A. Stuart Company)   Pipe Link of Australia
 Hunter Equipment Co., Inc.                           Primetals Technologies USA, LLC
 Huntington Plating Inc.                              Pyrotek, Inc. (02)
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 Pyrotek,Inc./Neco Division (04)
 Quality Machine Manufacturing, Inc.
 R.J. Tricon Co., LLC
 Rain CII Carbon, L.L.C.
 Red Stick Armature Works, Inc.
 Reintjes Services, Inc.
 Remedial Construction Services L.P.
 Resource Tek, LLC
 Rheinfelden Alloys
 Rheinfelden Alloys GmbH and Co. KG
 Riotinto Alcan Inc.
 River Parish Contractors, Inc.
 RTW Refractory Inc.
 Ruetgers Canada Inc.
 RWH Myers
 Ryder Capital
 S & W Pallet Company
 Safety-Kleen Systems Inc.
 Scepter, Inc.
 Service Aluminum Corporation
 SGL Carbon GmbH
 SH Bell Company
 Shultz Steel Company
 Siemens Industry, Inc.
 Simcoa Operations Pty. Ltd.
 Sims Metal Management
 Southwest Electric Co.
 St. Jude Harbor New Madrid Harbor Serv.
 St. Jude Industrial Park Board
 Steven Plotkin
 Steward Steel
 TDC, LLC
 Tennessee Aluminum Processors, Inc.
 Tennessee Valley Recycling, LLC
 Texican Horizon Energy Marketing LLC
 The Reynolds Company
 Trafigura Trading LLC
 Transwood Logistics, Inc.
 Turner Specialty Services, LLC
 Twin Eagle Resource Management, LLC
 U.S. Maritime Services Inc.
 Vaco, LLC
 Valicor Separation Technologies, LLC
 Valley West Welding Co. Inc.
 Vecta Environmental Services, LLC
 Watson Standard Adhesives
 Web Converting, Inc.
 Whelan Security Co.
 Worley Parsons HE
 Xtek, Inc.
 Ziegler
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                                    EXHIBIT B

                            Declaration of Gail E. Lehman
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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MISSOURI
                                SOUTHEASTERN DIVISION


                                                      Chapter 11
 In re:
                                                      Case No. 16-10083-399
 NORANDA ALUMINUM, INC., et al.,
                                                      (Jointly Administered)
                                  Debtors.



                              DECLARATION OF GAIL E. LEHMAN

          I, Gail E. Lehman hereby state and declare as follows:

          1.     I am the General Counsel of Noranda Aluminum Holding Corporation. In that

 capacity, I am responsible for supervising outside counsel and monitoring and controlling legal

 costs for Noranda Aluminum, Inc. and its subsidiaries that are debtors in these cases

 (collectively, the “Debtors”).

          2.     I submit this Declaration in support of the Application for Authority to Employ

 Carmody MacDonald P.C. as Local Restructuring Counsel for the Debtors (the “Application”).

 Except as otherwise noted, I have personal knowledge of the matters set forth herein.

          3.     Carmody MacDonald P.C. (“Carmody MacDonald”) is the proposed local

 restructuring counsel to the Debtors. The process used by the Debtors to review and select their

 restructuring counsel involved an evaluation of potential counsels’ expertise in relevant legal

 practice areas and in similar proceedings in this District and elsewhere. After evaluating multiple

 candidates for local counsel, the Debtors retained Carmody MacDonald to work with lead

 restructuring counsel at Paul, Weiss, Rifkind, Wharton & Garrison LLP (“Paul Weiss”).
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           4.   The Debtors retained Carmody MacDonald because of its experience in corporate

 reorganizations and its expertise in areas of law closely aligned with the Debtors’ goals and

 interests in these Chapter 11 cases. I believe Carmody MacDonald is well-qualified to represent

 the Debtors in these and similar matters as they may arise during the course of these cases.

           5.   As local restructuring counsel, Carmody MacDonald will render professional

 services to the Debtors whenever possible or appropriate that are not duplicative of the services

 to be performed by Paul Weiss. To the extent specific services can be more efficiently handled

 by Paul Weiss, Carmody MacDonald will not handle such services unless otherwise directed by

 the Debtors.

           6.   Carmody MacDonald has informed the Debtors that its rates and the material

 terms of its engagement with the Debtors are consistent with bankruptcy representations of this

 nature.

           7.   The Debtors will review and approve Carmody MacDonald’s prospective monthly

 budget and staffing plans for these Chapter 11 cases once deemed appropriate, and such budget

 and staffing plans will be supplied to the Court and the United States Trustee in these cases.

           8.   The Debtors recognize that in larger Chapter 11 cases such as these, it is possible

 that Carmody MacDonald may incur unforeseen fees and expenses that will need to need to be

 addressed by the Debtors. The Debtors further recognize their responsibility to closely monitor

 the billing practices of attorneys to ensure that the fees and expenses paid by their estates remain

 consistent with the Debtors’ expectations and the demands of the cases. The Debtors will timely

 review the invoices that Carmody MacDonald regularly submits and, together with Carmody

 MacDonald, may periodically amend the budget and staffing plans for these cases as they

 develop.
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       I declare under penalty of perjury that the foregoing is true and correct. Executed on

 February 17, 2016

                                           Respectfully submitted,



                                           /s/ Gail E. Lehman
                                           Gail E. Lehman
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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MISSOURI
                                SOUTHEASTERN DIVISION


                                                      Chapter 11
 In re:
                                                      Case No. 16-10083-399
 NORANDA ALUMINUM, INC., et al.,
                                                      (Jointly Administered)
                                Debtors.



      DISCLOSURE OF COMPENSATION OF ATTORNEYS FOR THE DEBTORS

          Pursuant to section 329(a) of Title 11 of the United States Code, Rule 2016(b) of the

 Federal Rules of Bankruptcy Procedure, and Rules 1002(C)(10) and 2016-1(A) of the Local Rules

 of Bankruptcy Procedure of the United States Bankruptcy Court for the Eastern District of

 Missouri, I, Christopher J. Lawhorn, hereby certify as follows:

          1.     Carmody MacDonald P.C. (“Carmody MacDonald”) received a retainer in the

 amount of $100,000 from the Debtors in two installments, beginning on January 26, 2016. Prior

 to the filing of the Debtor’s petition for relief on February 8, 2016 (the “Petition Date”), Carmody

 MacDonald applied the retainer against invoices for attorneys’ fees and expenses incurred on or

 after the date on which Carmody MacDonald received the first retainer installment. Specific

 details regarding the retainers and the remaining balance thereof will be provided in the Debtors’

 forthcoming application to employ Carmody MacDonald as local restructuring counsel.

                 2.      There is no agreement of any nature as to the sharing of any compensation

 to be paid to Carmody MacDonald, other than sharing among the shareholders, partners and

 associates of Carmody MacDonald.
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  Dated: February 17, 2016              Respectfully submitted,
         St. Louis, Missouri
                                        CARMODY MACDONALD P.C.

                                        By:     /s/ Christopher J. Lawhorn
                                               Christopher J. Lawhorn, #45713MO
                                               Angela L. Drumm, #57678MO
                                               Colin M. Luoma, #65000MO
                                               120 South Central Avenue, Suite 1800
                                               St. Louis, Missouri 63105
                                               Telephone: (314) 854-8600
                                               Facsimile: (314) 854-8660
                                               cjl@carmodymacdonald.com
                                               ald@carmodymacdonald.com
                                               cml@carmodymacdonald.com

                                        Proposed Local Counsel to the Debtors and
                                        Debtors in Possession




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